




NO. 07-04-0307-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 18, 2004



______________________________





IN RE: JAMES LEE SWEED, RELATOR 



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

OPINION

Relator James W. Sweed seeks a writ of mandamus ordering respondent, the Honorable Mackey Hancock, Judge of the 99
th
 District Court of Lubbock County, to rule on two motions allegedly pending in cause number 2003-522-601. &nbsp;We deny the petition.

Relator has filed a Petition for Writ of Mandamus in which he alleges that respondent has failed to act on two motions pending in the referenced cause. &nbsp;We are requested to order respondent to rule on the motions. &nbsp;

In support of the petition for writ of mandamus, relator has not attached any documents evidencing the motions or relator’s alleged request that respondent rule on the motions. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When petition for writ of mandamus is made, it is the relator’s burden to show entitlement to the relief being requested. &nbsp;
See
 
generally
 
Johnson v. Fourth District Court of Appeals
, 700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding). &nbsp;Relator must file with the petition a certified sworn copy of every document that is material to relator’s claim for relief and that was filed in any underlying proceeding, and a properly authenticated transcript of any relevant testimony from any underlying proceeding including any exhibits offered in evidence or a statement that no testimony was adduced in connection with the matter complained of. &nbsp;
Tex. R. App.
 P. 52.7(a).

Certified, sworn copies of motions and correspondence referenced in the petition are not attached or furnished. &nbsp;Relator has not presented a record which shows entitlement to the relief sought, or upon which we are authorized to act.

The petition for writ of mandamus is denied.



Phil Johnson

Chief Justice




